Case 3:24-cv-00517-JWD-SDJ   Document 39-3   08/05/24 Page 1 of 3




                 EXHIBIT B
      Case 3:24-cv-00517-JWD-SDJ       Document 39-3    08/05/24 Page 2 of 3




                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

 DARCY ROAKE, et al.,

                              PLAINTIFFS,

 v.                                         Civil Action No. 3:24-cv-517

 CADE BRUMLEY, et al.,                      Judge: JWD - SDJ

                            DEFENDANTS.


                      DECLARATION OF RONNIE MORRIS

      Pursuant to 28 U.S.C. § 1746, I, Ronnie Morris, duly affirm under penalty of

perjury as follows:

      1.     I am over 18 years of age, have personal knowledge of the matters set

forth herein, and am competent to make this Declaration.

      2.     My name is Ronnie Morris. I currently serve as the President of the

Louisiana State Board of Elementary and Secondary Education (BESE). I have

served on BESE since 2020 as the representative of District 6.

      3.     I understand that the Louisiana Legislature passed into law H.B. 71,

which requires each public school governing authority to display the Ten

Commandments in each classroom because of the prominent role of that text in the

history of American public schools as evidenced by the copies of McGuffey Readers

and the textbooks of Noah Webster, widely used in schools for three centuries.

      4.     I understand that H.B. 71 requires schools to display, alongside the Ten

Commandments, a context statement explaining the history of the Ten

Commandments in American public schools and that H.B. 71 permits the
1
         Case 3:24-cv-00517-JWD-SDJ                    Document 39-3           08/05/24 Page 3 of 3




accompanying display of other prominent historical documents, including but not

limited to the Mayflower Compact, the Declaration of Independence, and the

Northwest Ordinance.

        5.       I understand that H.B. 71 proscribes public school governing authorities

from having to spend their funds to purchase displays, so the authorities can accept

donated funds to purchase displays or accept donated displays.

        6.       I understand that H.B. 71 requires that (a) BESE adopt rules and

regulations that will govern the proper implementation of the law and (b) the

Department of Education (DOE) identify appropriate resources to comply with the

law that are free of charge and list those resources on its website.

        7.       I understand that public school governing authorities must comply with

the law in 149 days from now—by January 1, 2025.

        8.       The last regular meeting of BESE was June 12, 2024, and BESE will not

convene for a regular meeting again until August 21, 2024.i

        9.       BESE has not adopted any rules or regulations governing the proper

implementation of H.B. 71.

        10.      To adopt any rules or regulations, BESE would be required to comply

with the Louisiana Administrative Procedure Act. See La. R.S. 49.950 et seq.

        I declare, under penalty of perjury, that the foregoing is true and correct.




Executed on: August 5, 2024                           Ronnie Morris




 A special meeting of BESE was held on July 31 for the sole purpose of appointing an executive director.

                                                          2
